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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater *  MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April *
   20, 2010                                 * SECTION J
                                            *
                                            *
This document relates to:                   * Judge Barbier
                                            *
Case Nos. 10-2771, 10-4182, 10-4183, 13-    * Magistrate Judge Shushan
02645, 13-cv-02646, 13-cv-02647, 13-cv-     *
02813                                       *
______________________________________________________________________________


           BP’S MEMORANDUM IN SUPPORT OF MOTION TO STRIKE
                 THE STATE OF ALABAMA’S JURY DEMAND



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                                       INTRODUCTION

       Alabama’s request for a jury trial should be stricken as its claims do not carry any jury

trial right for multiple reasons.    As Alabama’s state law claims have been dismissed, its

remaining claims are under maritime law and OPA. Maritime law does not provide for a jury

trial right. Thus, Alabama’s demand for a jury trial depends solely on its claims under the Oil

Pollution Act of 1990 (“OPA”), which are claims for lost tax revenues, increased public service

costs, property damages, removal costs, and natural resource damages (“NRD”). But Alabama is

not entitled to a jury trial based on its OPA claims for two overarching reasons as well as

additional, specific reasons applying to individual claims.

       First, OPA does not provide a jury trial right. OPA’s statutory language is devoid of any

right to a jury trial. Nor is there any constitutional right to a jury trial under OPA. OPA

concerns discharges of oil into navigable waters, which falls into the quintessential admiralty

jurisdiction of the courts. Courts have consistently held that other statutes based in admiralty

lack a jury trial right, and the same conclusion applies to OPA. Imposing a jury trial right under

OPA would contradict hundreds of years of jurisprudence.

       Second, Alabama has brought claims as part of, and participated in, the Limitation

Action pending before this Court.       That Limitation Action properly encompasses actions

between plaintiffs such as Alabama and co-defendants of the limitation petitioners such as BP.

There is no jury trial right in a limitation action. Moreover, if the Court denies limitation, the

Court has discretion to retain jurisdiction over claims such as Alabama’s. Given the number of

claims, importance of uniformity, and complexity of the litigation, this Court should determine

Alabama’s damages without a jury as part of the Limitation Action.

       Third, Alabama lacks a jury trial right on various claims for additional, independent

reasons. Alabama’s claims for lost tax revenues and increased public expenditures under OPA
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were not recognized at common law and functional concerns weigh against creating a jury trial

right for them. Alabama’s claims for removal costs and NRD are based on equitable restitution

and thus do not provide a jury trial right. Finally, under this Court’s rulings Alabama’s claim for

punitive damages is based solely on maritime law, which does not provide a right to a jury trial.

                                        BACKGROUND

       Alabama filed complaints against BP, Transocean, and Halliburton, including claims

under OPA, maritime law, and state law. Case No. 2:13-cv-00252-MEF-TFM, Rec. Doc. 5

(“BP”); Case No. 2:13-cv-00250-MEF-TFM, Rec. Doc. 1 (“Transocean”); Case No. 2:13-cv-

00251-MEF-SRW, Rec. Doc. 1 (“Halliburton”). The Court dismissed Alabama’s state law

claims. Rec. Doc. 4578. Alabama’s complaints purport to reserve its right to seek a jury trial.

E.g., Case No. 2:13-cv-00252-MEF-TFM, Rec. Doc. 5 ¶¶ 236-38.

       Four Transocean entities sought to limit their liability under 46 U.S.C. §§ 30501 et seq.

(the “Limitation Action”). Case No. 2:10-cv-02771-CJB-SS, Rec. Doc. 1. Alabama filed a

claim in limitation against Transocean.      Case No. 2:10-cv-02771-CJB-SS, Rec. Doc. 323.

Alabama’s claim stated that it “intends to be—and upon information and belief, will be—a

participant in the MDL Court’s February 27, 2012 limitation trial under Rule 9(h) of the Federal

Rules of Civil Procedure.” Id. ¶ 109. This limitation trial has been tried to the bench without a

jury. Alabama has actively participated in the trial. See, e.g., February 2, 2013 Trial Tr. at

100:22; March 19, 2013 Trial Tr. at 4642; March 21, 2013 Trial Tr. at 5244:16.

       Alabama seeks various categories of alleged damages. Case No. 2:13-cv-00252-MEF-

TFM, Rec. Doc. 5 ¶¶ 63-72. Alabama’s OPA claim seeks lost tax revenues, increased public

service costs, property damages, and removal costs. Alabama also seeks to recover alleged NRD

under OPA, asserting that it is the trustee for certain allegedly damaged resources. Alabama

further seeks punitive damages.

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I.       THERE IS NO JURY TRIAL RIGHT UNDER OPA.

         A.     Because OPA Is Based On Admiralty, There Is No Right To A Jury Under
                The Statute.

         By its nature and plain language, OPA does not provide a jury trial right. A jury trial

right can come from statutory language or the Constitution’s Seventh Amendment. Nothing in

OPA’s text itself provides a jury trial right. Thus, any such right must derive from the Seventh

Amendment, which does not provide a right to a jury in admiralty suits. Granfinanciera, S.A. v.

Nordberg, 492 U.S. 33, 55 n.10 (1989); Waring v. Clarke, 46 U.S. 441, 460 (1847). Because

OPA is based on admiralty, there is no constitutional right to a jury.

         OPA is an admiralty statute. See Tug Allie-B, Inc. v. United States, 273 F.3d 936, 847

(11th Cir. 2001) (describing OPA as a “primarily maritime statute[]”).         A relationship to

“navigable waters” is the essence of admiralty. Jerome B. Grubart, Inc. v. Great Lakes Dredge

& Dock Co., 513 U.S. 527, 532 (1995); The Genesee Chief, 53 U.S. 443, 454 (1851). OPA

imposes liability for the discharge or substantial threat of discharge of oil “into or upon the

navigable waters or adjoining shorelines or the exclusive economic zone.” 33 U.S.C. § 2702(a)

(emphasis added). As the Fifth Circuit has explained, “OPA thus concerns facilities which

discharge (or pose a substantial threat to discharge) oil ‘into or upon ... navigable waters,’ and

liability under the OPA is therefore governed by the impact of such a discharge on ‘navigable

waters.’” Rice v. Harken Exploration Co., 250 F.3d 264, 266-67 (5th Cir. 2001); see also Apex

Oil Co. v. United States, 208 F. Supp. 2d 642, 651 n.11 (E.D. La. 2002) (noting that the purposes

of OPA include adding to body of “significant marine environmental protection laws” and

attempting to ensure that “waterways are free from the ravages of oil”). Even before OPA was

enacted, oil spills that began at sea and caused damage to land were within admiralty

jurisdiction. See In re Oil Spill by Amoco Cadiz, 699 F.2d 909, 913 (7th Cir. 1983); Exxon Co.,


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U.S.A. v. Sofec, Inc., 517 U.S. 830, 83435 (1996).

       Statutory actions founded in admiralty, like OPA, do not provide a jury trial right. For

example, the Supreme Court has held that there is no Seventh Amendment jury trial right for

claims under the Longshoremen’s and Harbor Workers’ Compensation Act (“LHWCA”) because

they “are governed by the maritime law as established by the Congress and are within the

admiralty jurisdiction.” Crowell v. Benson, 285 U.S. 22, 45 (1932). The Fifth Circuit and this

Court have likewise held that there is no jury trial right for LHWCA claims because that statute

creates claims that sound in admiralty. E.g., Becker v. Tidewater, Inc., 405 F.3d 257, 259-260

(5th Cir. 2005) (“Becker’s post-Becker I LHWCA and negligence claims do not alter the

historical exclusion of jury trials for admiralty suits.”); Biagas v. Hornbeck Offshore Servs., LLC,

2006 WL 2228952, at *4 (E.D. La. Aug. 3, 2006) (Barbier, J.) (“Federal jurisdiction of 905(b)

[under the LHWCA] claims is based on general maritime law and, accordingly, assertion of a

905(b) claim confers no more right to a jury trial than does any other claim within the court’s

admiralty jurisdiction.”).

       Since Crowell, the Fifth Circuit and other courts have applied similar reasoning to the

Limitation Act, the Death on the High Seas Act (“DOHSA”), and other admiralty statutes to

conclude that they do not provide a constitutional jury right. E.g., Karim v. Finch Shipping Co.,

Ltd., 265 F.3d 258, 264 (5th Cir. 2001) (no right to jury in Limitation Act proceedings);

Tallentire v. Offshore Logistics, Inc., 800 F.2d 1390, 1391 (5th Cir. 1986) (holding that action

under DOHSA “is cognizable only in admiralty and [plaintiff] is not entitled to a jury trial”).

       Indeed, the Jones Act shows that any jury trial for a maritime action must be based in the

statutory text. See 46 U.S.C. § 30104 (“such seaman may maintain an action for damages at law,

with the right of trial by jury”). Without this statutory language, there would be no jury trial



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right as the Constitution does not provide one for a maritime statutory claim such as the Jones

Act. See Craig v. Atlantic Richfield Co., 19 F.3d 472, 475 (9th Cir. 1994) (holding that because

of its admiralty nature the Jones Act not provide a constitutional right to a jury, and so

defendants cannot seek a jury trial); Rachal v. Ingram Corp., 795 F.2d 1210, 1213-14 (5th Cir.

1986) (holding that there is no constitutional right to a jury trial in a Jones Act case). In an

admiralty statute, like OPA, where a statutory jury trial right is lacking, as in OPA, a party has no

right to a jury trial.

        B.       South Port Is Unpersuasive And Contradicts Established Legal Principles.

        In South Port Marine vs. Gulf Oil Ltd. P’ship, 234 F.3d 58 (1st Cir. 2000), aff’g, 56 F.

Supp. 2d 104 (D. Me. 1999), the First Circuit considered an OPA claim brought by a marina

owner whose docks had been damaged by a gasoline spill from a barge in the harbor. The First

Circuit acknowledged that this claim fell within admiralty jurisdiction, id. at 64 n.1, but

nevertheless found that the parties were entitled to a jury trial based on the misapprehension that,

for purposes of assessing a jury trial right under OPA, a court should look to the scope of English

admiralty jurisdiction as it existed in 1791 and that such jurisdiction encompassed only injuries

“‘wholly’ sustained on navigable waters,” id. at 62. South Port thus failed to apply the proper

analysis for admiralty statutes as described in Section I.A. South Port’s conclusion also is

erroneous for several additional reasons.1

        First, South Port’s notion that courts should look to 18th century English law to evaluate

the jury trial right for an admiralty case is incorrect. Neither the Supreme Court nor other courts


1
  Since South Port, two district court cases have found a jury trial right under OPA. See United States v.
Viking Res., Inc., 607 F. Supp. 2d 808 (S.D. Tex. 2009), Clausen v. M/V NEW CARISSA, 171 F. Supp. 2d
1127 (D. Or. 2001). But neither case expands on South Port’s analysis, addresses OPA’s nature as an
admiralty statute, or rebuts the flaws in South Port’s holding. Thus, those cases are incorrect for the same
reasons as South Port.


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have looked at practice in 1791 to determine whether an admiralty claim carries a jury trial right.

Venerable Supreme Court precedent specifically rejects the argument that maritime jurisdiction

depends on 18th century English law: “We therefore conclude, that the grant of admiralty power

to the courts of the United States was not intended to be limited or to be interpreted by what were

cases of admiralty jurisdiction in England when the constitution was adopted.” Waring v.

Clarke, 46 U.S. 441, 458-59 (1847). Moreover, Waring expressly held that there was no jury

trial right in an action encompassed by American admiralty jurisdiction even though that action

would not have been recognized as maritime in 18th century England. Id. at 459-60. Waring has

never been overruled and continues to be cited as precedent by the modern Supreme Court. E.g.,

Granfinanciera, 492 U.S. at 55 n.10.

        Indeed, Waring’s methodology is followed by current decisions determining whether a

statutory action sounds in admiralty without a jury trial right. Unlike South Port, those decisions

do not purport to analyze maritime jurisdiction in 18th century England. Instead, they determine

whether the statutory actions are based on admiralty jurisdiction, and when they are, hold there is

no jury trial right.2 E.g., Crowell, 285 U.S. at 45; Rachal, 795 F.2d at 1213-14; Karim, 265 F.3d

at 264; Tallentire, 800 F.2d at 1391. Notably, South Port does not cite a single case where a

court held that there was admiralty jurisdiction but concluded based on a historical analysis that

the parties were constitutionally entitled to a jury. Because OPA creates claims that sound in

admiralty, there is no right to a jury trial regardless of the practice in 18th century England.

2
   While Alabama may argue that there are Supreme Court cases suggesting that courts should look to
18th century English admiralty law as a factor in determining whether there is a jury trial right, e.g.,
Granfinanciera, 492 U.S. at 41-42, such language is dicta as those cases did not concern the right to a
jury trial under admiralty jurisdiction. Indeed, the test set forth in cases such as Granfinanciera considers
whether an action should be considered either legal or equitable, and thus is inapplicable when the court is
considering whether an action is maritime. Id. at 42 (setting forth tests comparing the action to those
brought “prior to the merger of the courts of law and equity” and examining whether the remedy is “legal
or equitable in nature”).

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        Second, South Port’s reasoning leads to results contrary to the overwhelming body of

admiralty cases. Congress passed the Admiralty Extension Act (“AEA”) in 1948 to resolve

confusion over when sea-to-land incidents fall within admiralty jurisdiction.           46 U.S.C. §

30101(a); Jerome B. Grubart, 513 U.S. at 532; 1 THOMAS J. SCHOENBAUM, ADMIRALTY &

MARITIME LAW § 3-4 (5th ed.). The AEA makes clear that sea-to-land damages fall within

admiralty jurisdiction. 46 U.S.C. § 30101(a). Courts have repeatedly upheld the AEA as

constitutional. See Askew v. Am. Waterways Operators, Inc., 411 U.S. 325, 341 (1973); Pure Oil

Co. v. Snipes, 293 F.2d 60, 65 (5th Cir. 1961); United States v. Matson Nav. Co., 201 F.2d 610,

615-16 (9th Cir. 1953).

        Courts regularly hold or assume there is no right to a jury in AEA cases. E.g., Gutierrez

v. Waterman S.S. Corp., 373 U.S. 206, 207, 209-10 (1963); Tagliere v. Harrah’s Ill. Corp., 445

F.3d 1012, 1013-15 (7th Cir. 2006).3 South Port would cast this settled law into confusion. It

would contradict centuries of jurisprudence and abrogate the uniform rule that admiralty claims

do not have a constitutional jury trial right. Instead, determining when admiralty actions carry a

jury trial right would depend on the court conducting a historical analysis of maritime law in

each case. As discussed subsequently, that analysis is far more complicated than portrayed by

South Port — indeed, the Supreme Court moved away from a test that supposedly focused

purely on the locality of an incident precisely because of its “perverse and casuistic” results. See

Executive Jet Aviation v. City of Cleveland, 409 U.S. 249, 255 (1972).                  Given these

consequences, the reasoning of South Port cannot be correct or persuasive.

3
  See also Efferson v. Kaiser Aluminum & Chem. Corp., 816 F. Supp. 1103, 1115 & n.26, 1122 (E.D. La.
1993); Callahan v. Cheramie Boats, Inc., 383 F. Supp. 1217, 1221, 1223 (E.D. La. 1974); White v.
Sabatino, 526 F. Supp. 2d 1143, 1147, 1153-56, 1163-64 (D. Hawaii, 2007); In re Great Lakes Dredge &
Dock Co., 1996 WL 210081, at *1, 3-4 (N.D. Ill. Apr. 26, 1996); Subaru Distribs. Corp. v. Gen. Ship
Corp., 167 F.R.D. 342, 343 (D. Mass. 1996); Ashland Oil, Inc. v. Third Nat’l Bank of Ashland, Ky., 557
F. Supp. 862, 868-69, 872 (E.D. Ky. 1983).

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       Third, South Port contradicts controlling Supreme Court and Fifth Circuit law regarding

the LHWCA.       The LHWCA’s protections are not limited to injuries occurring wholly on

navigable waters, but also include certain employees injured on “any adjoining pier, wharf, dry

dock, terminal, building way, marine railway, or other adjoining area customarily used by an

employer in loading, unloading, repairing, dismantling, or building a vessel.” 33 U.S.C. §

903(a); see generally New Orleans Depot Servs., Inc. v. Director, Office of Worker’s Comp.

Programs, 718 F.3d 384 (5th Cir. 2013). Courts have specifically held that the LHWCA’s

inclusion of workers on adjoining areas falls within admiralty. See Sea-Land Service, Inc. v.

Director, Office of Workers’ Comp. Programs, 540 F.2d 629, 635-36 (3d Cir. 1976). But under

South Port’s reasoning such areas would be land, and actions for injury to employees on piers,

docks, and other such areas would carry a constitutional jury trial right. That result directly

contradicts Supreme Court and Fifth Circuit precedent holding that no jury trial right exists under

the LHWCA. See Crowell, 285 U.S. at 45; Becker, 405 F.3d at 260. Because South Port’s

reasoning contradicts Supreme Court and Fifth Circuit precedent regarding the LHWCA, the

First Circuit’s decision should not be adopted.

       Fourth, South Port confuses a statutory interpretation of an early law granting

admiralty jurisdiction for a constitutional limitation on admiralty jurisdiction. So long as a

category of cases falls within the constitutional limits of “all cases of admiralty and maritime

jurisdiction,” Congress can provide the federal courts with admiralty jurisdiction over those

cases. U.S. CONST. art. III, § 2. “What constituted an ‘admiralty’ or ‘maritime’ case, the

founding fathers did not say, but they must have intended those words as embracing the broad

subject matter of maritime law according to the general practices relating to it and at all times

subject to definite provision by Congress and judicial decision within the reasonable scope of the



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terms used.”     Matson, 201 F.2d at 612.         Interpreting some of the earliest Supreme Court

decisions on admiralty jurisdiction, the Ninth Circuit in Matson concluded that the constitutional

grant of admiralty jurisdiction encompassed damage to land caused by a vessel. Id. at 615.

Congress is free to restrict or expand the federal courts’ admiralty jurisdiction within those

constitutional bounds. See Romero v. Int’l Terminal Operating Co., 358 U.S. 354, 361 (1959).4

        This is precisely what Congress did in passing the AEA: the AEA “merely specifically

directs the courts to exercise the admiralty and maritime jurisdiction of the United States already

conferred by article III, section 2 of the Constitution and already authorized by the Judiciary

acts.” Ex. 2, H.R. Rep. No. 80-1523, at 3 (1948). Moreover, the AEA was not the first time that

Congress acted to increase the statutory scope of admiralty jurisdiction over sea-to-land

incidents. A century ago, the Supreme Court held that an 1884 Act of Congress brought the

collision of a barge with a drawbridge within admiralty jurisdiction, without finding any

constitutional difficulties. See Richardson v. Harmon, 222 U.S. 96, 106 (1911). Courts have

upheld the AEA and earlier statutes expanding admiralty because they grant jurisdiction within

the constitutional limits.

        This distinction between constitutional and statutory admiralty jurisdiction is crucial to

understanding the Supreme Court’s decisions in cases such as The Plymouth, 70 U.S. 20 (1866),

which South Port relies upon. Such cases should be interpreted as construing jurisdictional

statutes, not the limits of constitutional jurisdiction. Thus, The Plymouth is to admiralty


4
   See also, e.g., Atlas Roofing Co., Inc. v. Occupational Safety & Health Review Com’n, 430 U.S. 442,
450, 459 (1977) (explaining that the Seventh Amendment “did not purport to require a jury trial where
none was required before” and did not seek to freeze admiralty jurisdiction as it existed in 1789); Parsons
v. Bedford, Breedlove & Robeson, 28 U.S. 433, 446-47 (1830) (holding that the Seventh Amendment
does not apply “where, as in the admiralty, a mixture of public law, and of maritime law and equity was
often found in the same suit”); see also Curtis v. Loether, 415 U.S. 189, 193 (1974) (explaining that the
Seventh Amendment embraces “suits which are not of equity and admiralty jurisdiction.”).


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jurisdiction what Strawbridge v. Curtiss, 3 Cranch 267 (1806) is to diversity jurisdiction — a

case that narrowly interprets a statutory grant of jurisdiction that Congress is free to expand

within broader constitutional limits. See State Farm Fire & Cas. Co. v. Tashire, 386 U.S. 523,

530-31 (1967). Thus, The Plymouth was never a constitutional limit on admiralty jurisdiction

and is not a basis for restricting Congress’s ability to expand that jurisdiction, including

admiralty’s doctrines such as the absence of any right to a jury trial.

       Fifth, South Port inaccurately describes the historical course of admiralty jurisdiction

jurisprudence and the pre-AEA test for admiralty jurisdiction, which were both more confusing

and more flexible than portrayed by the First Circuit. South Port cites language from Jerome B.

Grubart, 513 U.S. at 532, that “the injury had to be ‘wholly’ sustained on navigable waters” for

traditional admiralty jurisdiction. 234 F.3d at 63. But Jerome B. Grubart did not purport to

catalogue the history of admiralty jurisdiction, and other Supreme Court cases more thoroughly

describe its development. “Despite the broad language of cases like The Plymouth, … the fact is

that this Court has never explicitly held that a maritime locality is the sole test of admiralty tort

jurisdiction.” Executive Jet, 409 U.S. at 258 (citations omitted). Executive Jet explains that

throughout history there were a “number of times the federal courts and the Congress, in the

interests of justice, have had to create exceptions to” expand the supposed locality test “when the

tort has no maritime locality, but does bear a relationship to maritime services, commerce, or

navigation.” Id. at 259.

       Examples from the Supreme Court’s own jurisprudence illustrate the capriciousness of

the supposed locality test.       Under that test, admiralty jurisdiction was absent over a

longshoreman standing on the pier who was struck by a sling and knocked into the water, but

present where a longshoreman working on the deck of a vessel was struck by a hoist and



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knocked onto the pier. Id. at 255 (discussing Smith & Son v. Taylor, 276 U.S. 179 (1928) and

Minnie v. Port Huron Terminal Co., 295 U.S. 647 (1935)). Similarly, admiralty jurisdiction

existed where a crew member fell off the gangplank and onto the dock, even though hitting the

dock is what caused the injury. See The Admiral Peoples, 295 U.S. 649 (1935). As a leading

treatise explains, the “Plymouth-Peoples rule for determining the place of the wrong is

unworkable in many cases, however, because the search to pinpoint the precise locus of the

wrong produced legalistic solutions without adequate policy foundation.” 1 SCHOENBAUM,

ADMIRALTY & MARITIME LAW § 3-4; see also The Blackheath, 195 U.S. 361, 365 (1904)

(“Hence, the precise scope of admiralty jurisdiction is not a matter of obvious principle or of

very accurate history.”).

       The difficulty in applying the “locality” test provides yet another reason to reject South

Port’s reasoning. The purpose of the AEA and modern Supreme Court admiralty jurisprudence

has been to develop a more consistent and predictable scope of admiralty jurisdiction. The

practical effect of South Port would be to reject these advances and send courts and practitioners

back to cases such as Plymouth and Peoples where the identity of the factfinder would turn on

slight factual differences and be inconsistently decided from case to case.

       C.      Even If A Historical Analysis Is Used, It Shows That Alabama Has No Right
               To a Jury Trial For Its Claims Against BP.

       South Port’s historical framework for determining whether there is a constitutional jury

trial right for claims in admiralty should be rejected for the reasons described in Section I.B. But

even a historical analysis demonstrates that Alabama has no right to a jury trial. Such an analysis

can proceed in two ways, one looking at earlier American precedent and one looking at 18th

century English cases. Under either method, Alabama is not entitled to a jury trial.

       First, as cases such as Minnie and Peoples show, American admiralty jurisdiction was


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never limited to injuries that occurred “wholly” upon navigable waters as South Port claims.

Indeed, even The Plymouth itself stated that for admiralty jurisdiction “the wrong and injury

complained of must have been committed wholly upon the high seas or navigable waters, or, at

least, the substance and consummation of the same must have taken place upon these waters.”

The Plymouth, 70 U.S. at 34-35 (emphasis added). Even when courts applied the supposed

locality test they looked to the “substance and consummation of the occurrence which gave rise

to the cause of action.” Executive Jet, 409 U.S. at 255.

        Here, the “substance and consummation of the occurrence” took place in navigable

waters. The incident began with explosions on and the sinking of the Deepwater Horizon, which

this Court has previously found to be a vessel. Rec. Doc. 3830 at 4-7. The Deepwater Horizon

was located in the Gulf of Mexico approximately 50 miles from the coast, clearly in navigable

waters. Oil flowed through the appurtenances of the Deepwater Horizon into the navigable

waters of the Gulf. To the extent the oil spill injured Alabama, the injuries alleged by Alabama

would have occurred at least in part from oil being in navigable waters by, for example, allegedly

affecting fishermen and tourism. Notably, this distinguishes Alabama’s claims from the facts in

South Port, where damage did not occur until the gasoline touched the docks, which South Port

considered part of the land. 234 F.3d at 61. That some alleged damage for Alabama’s claims

may have occurred on land as well is not determinative of admiralty jurisdiction under cases

such as Minnie and Peoples. Thus, under the supposed locality test, Alabama’s OPA claims

sound at admiralty and Alabama is not entitled to a jury trial.

        Second, under 18th century English law, admiralty jurisdiction encompassed actions

occurring partly on land.5 As a contemporary treatise stated, “[i]f the original cause arises upon


5
   Even though the South Port courts state that one should look to English law in 1791 to determine the
right to a jury trial, the district court in South Port candidly admitted that it was not familiar with pre-

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the sea, and other matters happen upon the land depending thereupon, yet the trial shall be in the

Court of Admiralty.” Ex. 1, Declaration of James Oldham (“Oldham Decl.”) ¶ 17. For example,

cases in the early 1780’s held that if a ship was taken as a prize at sea, and the crew and goods

were held on the land, then an action of the crew for false imprisonment and damages for the

goods was within admiralty jurisdiction even though the injury occurred partly on land. Id. ¶¶

19-26.

         Accordingly, Alabama’s claims would have sounded in admiralty under 18th century

English law. Where an occurrence began at sea but had consequences on land, it fell within

English admiralty jurisdiction. This precisely describes the Deepwater Horizon incident, which

began in navigable waters in the Gulf of Mexico but allegedly had effects on Alabama that

occurred on land. Because the action began in navigable waters, the English admiralty courts

would have had jurisdiction over the original cause, and thus should have jurisdiction over the

consequences on land as well. Thus, even if historical tests are applied to Alabama’s claims,

those claims sound in admiralty and lack any jury trial right.

II.      ALABAMA IS NOT ENTITLED TO A JURY FOR CLAIMS ARISING OUT OF A
         LIMITATION ACTION.

         The Court also should strike Alabama’s jury demand because Alabama is a willing

participant in the Limitation Action. All claims in a limitation action can be resolved in a bench

trial “without a jury.” See, e.g., Karim v. Finch Shipping Co., 265 F.3d 258, 264 (5th Cir. 2001).

Because a limitation action is maritime in nature, there is no jury trial right even as to claims

carrying that right outside of limitation actions. See Becker v. Tidewater, Inc., 405 F.3d 257, 259

(5th Cir. 2005); Beiswenger Enters. Corp. v. Carletta, 86 F. 3d 1032, 1037 (11th Cir. 1996). As


1791 cases in England, 56 F. Supp. 2d at 108, and the First Circuit similarly did not discuss 18th century
English law, 234 F.3d 58.


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the Fifth Circuit explained in Karim, a limitation action “‘is the administration of equity in an

admiralty court ... . [The proceeding] looks to a complete and just disposition of a many

cornered controversy.’” 265 F.3d at 264 (quoting Hartford Accident & Indem. Co. v. S. Pac.

Co., 273 U.S. 207, 216-17 (1927)). “In exercising this equitable power, of course, the admiralty

court must necessarily deny the claimants their right to pursue common law claims before a

jury.” In re Dammers & Vanderheide & Scheepvaart Maats Christina B.V., 836 F.2d 750, 755

(2d Cir. 1988).

       The Court’s jurisdiction in a limitation action extends to “all cross-claims that arise out of

the limitation proceeding.” In re Endeavor Marine Inc., 234 F.3d 287, 290 n.2 (5th Cir. 2000).

This jurisdiction includes claims made by claimants against a co-defendant of the limitation

petitioner. See British Transp. Comm’n v. United States, 354 U.S. 129, 138 (1957) (holding that

“a necessary concomitant of jurisdiction in a factual situation such as this one [is] that the Court

have power to adjudicate all of the demands made and arising out of the same disaster”); see also

Riverway Co. v. Trumbull River Servs., 674 F.2d 1146, 1154 (7th Cir. 1982).

       A district court’s jurisdiction in a limitation action includes determining and apportioning

damages, against both the limitation petitioner and its co-defendants. In British Transport, the

Supreme Court held that the district court could adjudicate damages against the co-defendant of a

limitation petitioner even if the co-defendant were not a petitioner itself. Id. at 137-39. “Logic

and efficient judicial administration require that recovery against all parties at fault is as

necessary to the claimants as is the fund which limited the liability of the initial petitioner.”

Id. at 138 (emphasis added). As the Supreme Court further explained, where the limitation

petitioner’s liability had been adjudicated:

       Why does it not follow that the claimants, scattered as they are in eight countries of the
       world but all present in this proceeding, should recover judgment for their damages?


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        Why should each be required to file a secondary action in the courts of another country
        merely to prove the amount of his due when the same evidence is already before the
        admiralty court here?

Id. at 137 (emphasis added); see also Acacia Vera Nav. Co. v. Kezia, Ltd., 78 F.3d 211, 218 (5th

Cir. 1996).

        Alabama is a claimant in the Limitation Action and has actively participated in the

Limitation Action trial.6 BP is a co-defendant in the Limitation Action here and thus is in the

same position as the co-defendant in British Transport. Thus, the jurisdiction of the Limitation

Action extends to determining the damages, if any, that claimants such as Alabama have against

BP. Such determinations made as part of the Limitation Action are done by the bench sitting

without a jury.

        In fact, Alabama supported using a bench trial to determine liability in the Limitation

Action. Alabama argued to the Fifth Circuit that OPA expressly allows general maritime claims

for compensatory damages and thus a “district court may properly try the claims without a jury

under its admiralty jurisdiction.” Ex. 3, In re Deepwater Horizon, Case No. 11-30987, Rec. Doc.

00511658535 (5th Cir.) (“The State of Alabama’s Answer in Support of the District Court”) at 4,

15-23. Indeed, Alabama explained that “the district court’s plan to try the common issues of

limitation and liability to the bench is legally sound; it tracks similar complex litigation plans

from this Circuit; and frankly, it’s the best option for moving this complex MDL forward in an

expeditious manner.” Id. at 29.

        Moreover, this Court has discretion to decide Alabama’s claims even if it denies


6
  The Limitation Action has been transferred to this Court for all purposes under Federal Rule of Civil
Procedure Supplemental Rule F(9), not simply for pretrial coordination under 28 U.S.C. § 1407. Case
2:10-cv-02771, Rec. Doc. 207. As the Limitation Action was transferred for all purposes, Lexecon Inc. v.
Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998) does not present any concerns with the
Court retaining jurisdiction over all claims made within the Limitation Action.


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Transocean’s limitation petition. “When the jurisdiction of the court in admiralty has attached

through a petition for limitation, the jurisdiction to determine claims is not lost merely because

the shipowner fails to establish his right to limitation.” Just v. Chambers, 312 U.S. 383, 386

(1941). Instead, the court has “jurisdiction to fulfill the obligation to do equity to claimants by

furnishing them a complete remedy although limitation is refused.”                Id. at 387.     “Where

limitation is denied, it is discretionary with the court to retain jurisdiction and adjudicate the

claims or to remit the claimants to another forum.” In re Clearsky Shipping Corp., 1998 WL

308011, at *2 (E.D. La. 1998); see also In re Waterman S.S. Corp., 1992 WL 41714, at *6 (E.D.

La. Feb. 27, 1992) (“In conclusion, it is in my discretion whether to adjudicate the case in its

entirety or whether to allow the claimants to return to state court if limitation is denied.”).7

        Limitation courts often try all issues to the bench, including damages, where limitation

has been denied. See, e.g., Superior Const. Co., Inc. v. Brock, 445 F.3d 1334, 1346 (11th Cir.

2006) (damages assessed at bench trial after limitation had been denied); Am. Dredging Co. v.

Lambert, 153 F.3d 1292, 1294 (11th Cir. 1998); Bowmech Marine Inc., for Exoneration From or

Limitation of Liab., 1993 WL 8335 (E.D. La. Jan. 7, 1993) aff’d sub nom. Brunet v. United Gas

Pipeline Co., 15 F.3d 500 (5th Cir. 1994); see also In re Crescent Ship Serv., Inc., 2005 WL

221562 (E.D. La. Jan. 27, 2005) aff’d sub nom. Mays v. JP & Sons Inc., 178 F. App’x 378 (5th

Cir. 2006); United States v. M/V MANDAN, 1993 WL 17622 (E.D. La. Jan. 19, 1993).

        The history behind the Limitation Act also supports trying damages to the bench. As

explained in Section I.B., historical analysis should not be used to limit admiralty jurisdiction

7
   Alabama may cite language in Pershing Auto Rentals, Inc. v. Gaffney, 279 F.2d 546, 552 (5th Cir.
1960) regarding the options of claimants after denial of limitation, but Clearsky and Waterman clarify that
the district court has the discretion on whether to retain the claims for adjudication. Similarly, Clearsky
suggests that “it may be appropriate to impanel a jury” to decide issues where claimants would otherwise
be entitled to a jury, but a jury would be inappropriate here for the reasons explained in the body of the
text. 1998 WL 308011, at *2 (emphasis added).


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under the Supreme Court’s precedents in Waring and Crowell, as the constitutional bounds of

admiralty jurisdiction are broader than the English law in 1791. But historical analysis can be

used to show that a cause of action or statute fell within the historical boundaries of admiralty,

and thus should continue to do so today. Here, the Limitation “Act was primarily patterned after

the English limitation act, 26 Geo. 3, ch. 86 (1786).” Vatican Shrimp Co., Inc. v. Solis, 820 F.2d

674, 677 (5th Cir. 1987). The English Act expressly provided that judges would decide damages

according to the rules of equity, that is, without a jury. See Ex. 4, 26 Geo. 3, ch. 86(IV) (“[A]nd

in every such case, it shall and may be lawful to ... exhibit a bill in any court of equity for a

discovery of the total amount of such losses or damages, and also of the value of such ship or

vessel, appurtenances, and freight ... according to the rules of equity ... .”) (emphasis added).

The English Act’s foreclosure of these issues from courts of law, and thus juries, lends further

support to denying Alabama’s jury demand.8

        Allowing a jury trial for damages would also ignore the limitation action’s built-in

concern for judicial efficiency.       As the Karim court noted, “the purpose behind such a

proceeding in federal court is to permit all actions against the shipowner to be consolidated into a

single case so that all claims may be disposed of simultaneously ... .” 265 F.3d at 264

(emphasis added). Similarly, the OPA claims process adopts several procedures designed to

encourage the efficient resolution of disputes. See Gabarick v. Laurin Mar. (Am.) Inc., 2009 WL

102549, at *3 (E.D. La. Jan. 12, 2009).

        Holding a jury trial for Alabama — and all other limitation claimants who seek damages

trials — would present an incredible burden on this Court and the judiciary.                   Potentially

8
  In addition, in 18th century English law, admiralty courts had jurisdiction over actions flowing from
prize cases even if the court found that a ship was not a proper prize. Oldham Decl. ¶¶ 21-24. This
provides another historical analogue to modern courts sitting in admiralty retaining jurisdiction to decide
damages in Limitation Actions even if the court denies limitation.


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hundreds or thousands of jury trials would be held. Under the circumstances of this litigation,

including its public coverage and the sheer number of claims that have been filed, empanelling

an impartial jury for each damages trial would take considerable time and could necessitate

transferring cases away from the Gulf region.

       Moreover, the verdicts rendered by these juries likely will result in disparate awards to

similar claimants. Such jury decisions will offer little guidance on how to treat the damages of

other claimants, hampering efficient resolution of the claims. By contrast, having the Court

decide these cases consistent with the discretion provided under the Limitation Act should result

in clearer standards for determining damages in other cases, facilitating settlements and more

rapid payments to legitimate claimants.

       Furthermore, circumstances where cases are remanded for jury trials typically involve

state law claims, where legal questions and damages determinations will be governed by the

peculiarity of each State’s law. By contrast, this Court has held that claimants have only federal

and maritime law claims. Rec. Doc. 3830 at 8-18. The Court also expressly recognized the need

for uniformity in applying such law, which again argues in favor of the Court exercising its

discretion to adjudicate claimants’ damages to provide uniform standards. Id. at 11-14. Given

the size and issues of this litigation and the built-in preference for judicial economy under the

Limitation Act and OPA, the Court should try the damages of limitation claimants such as

Alabama to the bench.

III.   ALABAMA’S CLAIMS LACK ANY JURY TRIAL RIGHT FOR ADDITIONAL,
       INDIVIDUAL REASONS.

       A.      Alabama Brings Its Claims For Tax Revenues And Public Expenditures In A
               Sovereign Capacity And Thus Has No Right To A Jury.

       Alabama has no jury trial right for its lost tax revenues and increased public expenditure

claims because they are made under OPA and thus are based on admiralty.              But even if

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Alabama’s OPA claims were not based in admiralty, the State would not have a right to a jury on

its claims for allegedly lost tax revenues or increased public expenditures.           The Seventh

Amendment “require[s] a jury trial on the merits in those actions that are analogous” to actions

brought in 18th century English law courts. Tull v. United States, 481 U.S. 412, 417 (1987).

The Supreme Court applies a two-part test to determine whether an action is a suit at common

law under the Seventh Amendment:

       First, we compare the statutory action to 18th-century actions brought in the courts of
       England prior to the merger of the courts of law and equity. Second, we examine the
       remedy sought and determine whether it is legal or equitable in nature.

Id. at 417-18 (citations omitted).

       Applying the first part of this test shows that claims for recovery of lost tax revenues

were not tried in English law courts. Even today, the common law does not recognize causes of

action for lost tax revenues or public expenditures. See, e.g., Iowa ex rel. Miller v. Block, 771

F.2d 347, 353 (8th Cir. 1985); Pennsylvania v. Kleppe, 533 F.2d 668, 672-73 (D.C. Cir. 1976);

People ex rel. Hartigan v. Cheney, 726 F. Supp. 219, 225 (C.D. Ill. 1989); Alaska v. BP

Exploration (Alaska) Inc., 2010 WL 5433874 (Ak. 3d Jud. Dist., Sup. Ct. Dec. 10, 2010).

Similarly, BP has not found any evidence that such rights existed at English common law.

Oldham Decl. ¶¶ 31-33. To be sure, the Seventh Amendment extends to statutory actions that

are “analogous” to common law rights of action. Tull, 481 U.S. at 417. But BP has not located

any actions analogous to a sovereign seeking lost taxes based on a private party defendant

injuring a private party plaintiff. Oldham Decl. ¶¶ 31-33. New causes of action without

analogues in historical jurisprudence do not carry a jury trial right. See NLRB v. Jones &

Laughlin Steel Corp., 301 U.S. 1, 48-49 (1937) (holding that there was no Seventh Amendment

jury trial right where the “instant case is not a suit at common law or in the nature of such a suit.

The proceeding is one unknown to the common law.”); see also Atlas Roofing Co. v. Occupat’l

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Safety & Health Review Comm’n, 430 U.S. 442, 453 (1977).

       As for the second part of the test, although the State seeks monetary damages, such

damages do not establish a legal right. The Supreme Court has held that a variety of claims for

monetary damages do not carry a right to a jury trial. See Atlas, 430 U.S. at 449-50 (rejecting

argument that a suit for money judgment is a suit at common law and therefore must carry a jury

trial right); see also Borst v. Chevron Corp., 36 F.3d 1308, 1324 (5th Cir. 1994) (“Plaintiffs’

requests for monetary recovery on other claims, traditionally the form of relief offered in courts

of law, do not mandate a conclusion that their action is legal in nature.”); Rex v. Cia. Pervana de

Vapores, S.A., 660 F.2d 61, 67 (3d Cir. 1981) (“Thus, the proper inquiry is not whether a

plaintiff seeks money damages, but whether his action is in the nature of a legal remedy similar

to a suit at common law.”). These claims include at least some types of tax collection and

assessment actions. See Atlas, 430 U.S. at 450-51. Many of these claims seeking money

damages where there is no jury trial right involve a government suing to enforce rights that are

peculiar to its nature as sovereign. Id. at 450. Under this precedent, claims for lost tax revenues

and increased public expenditures are not legal rights for which there is a jury trial entitlement.

       Furthermore, where the history or nature of the determination to be made is not clear,

courts rely on functional concerns to determine whether issues should be decided by the bench or

jury. See Markman v. Westview Instruments, Inc., 517 U.S. 370, 388 (1996).                Functional

concerns weigh heavily in favor of a bench trial here. Cases involving lost tax revenues and

public expenditures will depend heavily, and indeed almost solely, on complex expert evidence.

This evidence will include highly technical economic models, the results of those models, and

criticisms of those models. Furthermore, this will be true of all cases under OPA with claims for

lost tax revenues or public expenditures. Such functional considerations further confirm that a



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Seventh Amendment jury trial right does not exist for claims for lost tax revenues and increased

public expenditures. Cf. In re Japanese Elec. Prods. Antitrust Litig., 631 F.2d 1069, 1079, 1084-

86 (3d Cir. 1980); James Oldham, On The Question Of A Complexity Exception To The Seventh

Amendment Guarantee Of Trial By Jury, 71 OHIO ST. L.J. 1031 (2010).

       B.      Alabama Has No Jury Trial Right For Its NRD Claims.

       Neither statute nor the Seventh Amendment provides a jury trial right for Alabama’s

NRD claims. Alabama’s NRD claims arise from OPA, 33 U.S.C. § 2702(b)(2)(A), but OPA

does not provide a statutory right to a jury trial, see Section I. Therefore, Alabama must look

solely to the Seventh Amendment to find such a right.

       The Seventh Amendment does not, however, provide a jury trial for Alabama’s NRD

claims for three reasons. First, these claims arise from OPA, which is founded in admiralty,

and, as discussed above, the Seventh Amendment does not provide a right to a jury in suits

founded in admiralty. See Section I. Second, the NRD claims asserted by Alabama as a public

trustee of natural resources, like Alabama’s claims for lost tax revenues and public expenditures,

find no analog “to 18th-century actions brought in the courts of England prior to the merger of

the courts of law and equity,” Tull, 481 U.S. at 417, and therefore are not afforded a jury trial

under the Seventh Amendment.

       Third, even if the Court were to find that Alabama’s claims for lost tax revenue and

added expenses did not sound in admiralty and were subject to a jury trial right, Alabama would

still not be entitled to a jury trial on its NRD claims, because the NRD claims are equitable in

nature. E.g., Billing v. Ravin, Greenberg & Zackin, P.A., 22 F.3d 1242, 1245 (3d Cir. 1994)

(“[N]o jury right attaches to equitable claims.”) (citing Granfinanciera, S.A. v. Nordberg, 492

U.S. 33, 41 (1989)); Granfinanciera, 492 U.S. at 91 (“If the claim and the relief are deemed

equitable, we need go no further: the Seventh Amendment’s jury-trial right applies only to

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actions at law.”) (Blackmun, J., dissenting). Alabama’s NRD claims are equitable because they

are restitutionary — i.e., they are “limited to ‘restoring the status quo ... .’” Tull, 481 U.S. at 424

(quoting Porter v. Warner Holding Co., 328 U.S. 395, 402 (1946)); Borst, 36 F.3d at 1324 (“In

Terry, the [Supreme] Court made clear that a request for monetary recovery sounds in equity,

and thus does not guarantee a jury trial, when it is restitutionary in nature ... .”) (citing

Chauffeurs, Teamsters, and Helpers, Local No. 391 v. Terry, 494 U.S. 558, 570-71 (1990)).

       OPA explicitly limits NRD claims to restoring natural resources to the status quo, and

therefore NRD claims are restitutionary. 33 U.S.C. § 2702(b)(2)(A) (permitting NRD claims to

recover for “injury to, destruction of, loss of, or loss of use of, natural resources, including

reasonable costs of assessing the damage.”). OPA’s prescribed three-part method for calculating

NRD further demonstrates their restitutionary nature: “(A) the cost of restoring, rehabilitating,

replacing, or acquiring the equivalent of, the damaged natural resources; (B) the diminution in

value of those natural resources pending restoration; plus (C) the reasonable cost of assessing

those damages.” Id. § 2706(d)(1). Unlike a common law damages award, OPA even restricts

the use of NRD ultimately recovered to assessing and restoring the injured natural resources. See

id. § 2706(f) (restricting NRD “for use only to reimburse or pay costs incurred by the trustee

under [Section 2706(c)]”). Collectively, OPA’s explicit limitations on the scope of NRD claims

and on the use of any NRD recovery indicate that such claims are intended to restore the status

quo, and therefore are restitutionary.

       The United States consistently has advanced the same conclusion: NRD claims are

equitable, regardless of whether they arise under OPA or the comparable provisions of the

Comprehensive Environmental Response, Compensation and Liability Act (“CERCLA”), 42

U.S.C. § 9607. See, e.g., In re Acushnet River & New Bedford Harbor Proceedings re Alleged



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PCB Pollution, 712 F. Supp. 994, 1000 (D. Mass. 1989) (United States moved to strike jury

demand on NRD claims); United States v. Wade, 653 F. Supp. 11, 13 (E.D. Pa. 1984) (same).

The United States recently advanced this position once again in United States v. Viking

Resources, contending that NRD claims are “fundamentally restitutionary and equitable in

nature” because their purpose “is to recover funds that a trustee has used for the assessment of

[NRD] and will continue to use exclusively for the restoration, rehabilitation, replacement, or

acquisition of equivalent, of natural resources.” Ex. 5, Pl. United States’ Mem. in Supp. of Mot.

to Strike Jury Demand of Defs. at 12, 2009 WL 956005, United States v. Viking Res., Inc., 607 F.

Supp. 2d 808 (S.D. Tex. 2009).

       Further support for the conclusion that NRD claims are restitutionary, equitable, and not

entitled to a jury trial derives from their similarity to claims under CERCLA and OPA to recover

costs incurred in responding to a release or a spill. Courts have long and consistently held that

CERCLA “response cost” claims are restitutionary and do not confer a jury trial right because

they are “in effect seeking equitable relief in the form of restitution or reimbursement of the costs

... expended in order to respond to the health and environmental danger presented.” United

States v. Ne. Pharm. & Chem. Co., 810 F.2d 726, 749 (8th Cir. 1986); see also Hatco Corp. v.

W.R. Grace & Co. Conn., 59 F.3d 400, 411-12, 414 (3d Cir. 1995). Analogizing to CERCLA,

courts also have concluded that OPA claims for recovery of removal costs are similarly equitable

in nature. Viking, 607 F. Supp. 2d at 829-830; Int’l Marine Carriers v. Oil Spill Liab. Trust

Fund, 903 F. Supp. 1097, 1102 (S.D. Tex. 1994).

       These courts’ reasoning applies with equal force to NRD claims that also seek equitable

relief related to assessing, rehabilitating, and restoring injuries to natural resources. See, e.g.,

Wade, 653 F. Supp. at 13 (providing that CERCLA NRD claims “would properly be



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characterized as equitable for the same reasons that recovery of [CERCLA] response costs is

considered equitable relief”).

        No appellate courts have opined on this issue, and although some district courts have

reached a different conclusion, their justification for doing so is unpersuasive. For example, the

Viking court found that NRD claims constituted a legal remedy entitled to a jury trial in part

because “[i]t amounts to compensating the plaintiff for injury to its property, much like damages

recovered in nuisance or trespass.” Id. at 832. But this analysis fails to consider how, unlike

nuisance or trespass damage recoveries, which may be spent freely, OPA limits the use of funds

recovered under an NRD claim to assessing and restoring the injured natural resources. See 33

U.S.C. §§ 2706(c), (f). Such constraints on NRD claims reveal their true restitutionary and

equitable nature, undermining the contrary conclusions of some district courts. E.g., Wade, 653

F. Supp. at 13.

        For these reasons, the Court should conclude that Alabama is not entitled to a jury trial

for its NRD claims.9

        C.        Claims For Removal Costs Are Equitable In Nature And Thus Do Not Carry
                  A Jury Trial Right.

        Even if Alabama’s claim for removal costs was not within admiralty jurisdiction,

Alabama still would not have a jury trial right for such alleged damages. Under OPA “remove”

is defined as “containment and removal of oil or a hazardous substance from water and


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  Furthermore, to the extent that Alabama seeks to have its NRD claims (or any other claims) decided at a
later time and by a different jury than any jury for its OPA claims, Alabama’s position would run afoul of
the Seventh Amendment. The Seventh Amendment states that “no fact tried by a jury, shall be otherwise
re-examined in any Court of the United States, than according to the rules of the common law.” U.S.
CONST. amend. VII. “The Seventh Amendment entitles parties to have fact issues decided by one jury,
and prohibits a second jury from reexamining those facts and issues.” Castano v. American Tobacco Co.,
84 F.3d 734, 750 (5th Cir. 1996); see also Alabama v. Blue Bird Body Co., 573 F.2d 309, 318 (5th Cir.
1978); In re Rhone-Poulenc Rorer, Inc., 51 F.3d 1293, 1303 (7th Cir. 1995).


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shorelines or the taking of other actions as may be necessary to minimize or mitigate damage to

the public health or welfare.” 33 U.S.C. § 2701(30). Removal costs include “the costs of

removal that are incurred after a discharge of oil has occurred.” 33 U.S.C. § 2701(31).

          Courts have consistently held that claims for environmental response or removal of

pollution seek restitution of amounts expended by the government. Such restitution is a form of

equitable relief. Thus, there is no right to a jury trial for environmental removal or response

costs. E.g., Hatco, 59 F.3d at 411-12; Ne. Pharm. & Chem., 810 F.2d at 749; Badalamenti v.

Chevron Chem. Co., 1995 WL 386868, at *4 (E.D. La. June 27, 1995).

          D.      Alabama’s Punitive Damage Claims Is Based Solely On Maritime Law And
                  Thus Lacks Any Jury Trial Right.

          This Court has held that OPA’s language does not provide for punitive damages, and that

any claims for punitive damages must be based on maritime law.10 Rec. Doc. 3830 at 26-27.

There is no jury trial right to claims brought under maritime law, Granfinanciera, 492 U.S. at 55

n.10; Waring, 46 U.S. at 460, and thus no such right for Alabama’s punitive damages claims.

                                            CONCLUSION

          Conducting a bench trial for Alabama’s damages is consistent with admiralty law, OPA,

rules governing limitation actions, and the Seventh Amendment.                   The Court should strike

Alabama’s demand for trial by jury and order that Alabama’s alleged damages be tried to the

bench.




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     BP reserves all arguments that OPA displaces general maritime law claims.


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Date: February 14, 2014              Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 14th day of February, 2014.


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